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                                                                        m t e n Dlstwt of Kentucky
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                       UNITED STATES DISTRICT COURT                             FE9 1 5 2005
                       EASTERN DISTRICT OF KENTUCKY                               AT LEXINGiOIU
                             ASHLAND DMSION                                     LESLIE G VbhITh!ER
                                                                             CLERK I: S G ! S T R i C i COURT

TIMOTHY ALLEN MORRISON, 11, by                )       CASE N O . C * F 5        3K d/dRU1
and through his next friends, TIMOTHY         )
MORRISON AND MARY MORRISON;                   )
TIMOTHY AND MARY MORRISON;                    )
BRIAN NOLEN; AND DEBORA JONES                 )
                                              )
                       Plaintiffs,            )
                                               1       MOTION FOR ADMISSION
                       vs.                     1       PRO HAC VICE
                                               1
BOARD OF EDUCATION OF BOYD                     )
COUNTY, KENTUCKY                               )
                                               )
                       Defendant.              )


       Plaintiffs Timothy Allen Morrison, 11, by and through his next friends, Timothy

Morrison and Mary Morrison, Timothy and Mary Morrison, Brian Nolen, and Debora

Jones (“Plaintiffs”), pursuant to LR 83.2, move the Court to enter an Order admitting Joe

Platt to appearpro hue vice as their co-counsel in this action. In support of this motion,

Plaintiffs attach the Declaration of Joe Platt identifying the bar in which said attorney is a

member in good standing and containing his consent to be subject to the jurisdiction and

rules of the Kentucky Supreme Court governing professional conduct. In addition, the

prescribed fee of $65.00 is submitted herewith.

       WHEREFORE, Plaintiffs move this Court for an Order permitting the admission

of Joe Plattpro hac vice for the purpose of participating in this matter.




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                                GREENEBAUM, DOLL & MCDONALD PLLC




                          b’    Greenebaum, Doll & McDonald PfLC
                                300 West Vine Street
                                Suite 1100
                                Lexington, KY 40507
                                (859) 231-8500




                                     2
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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                               ASHLAND DIVISION

TIMOTHY ALLEN MORRISON, 11, by                  )       CASE NO.
and through his next iiiends, TIMOTHY           )
MORRISON AND MARY MORRISON;                     )
TIMOTHY and MARY MORRISON,                      1
BRIAN NOLEN, and DEBORA JONES                   )
                                                )
                        Plaintiffs              1       DECLARATION OF
                                                1       JOE PLATT
                        vs.                     )
                                                )
BOARD OF EDUCATION OF BOYD                      )
COUNTY, KENTUCKY                                1
                                                )
                        Defendant.              )


         I, Joe Platt, declare under the penalty of perjury that the following is true and

correct:

         1.     I am an attorney licensed to practice in the state of Ohio and am a member

         in good standing of the Ohio Bar. I am also admitted to practice in the

         United States District Court, Northern District of Ohio.

         2.     I consent to be subject to the jurisdiction and rules of the Kentucky

                 Supreme Court governing professional conduct.

         3.     This Declaration is made in support of the Motion for Admission Pro Huc

                 Vice before this Court.

This   /a day o-f                    2005.
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                 DECLARATION UNDER PENALTY OF PERJURY

       Pursuant to 28 U.S.C. 5 1746, I hereby declare, under penalty of pejury under the
laws of the United States of America, that the foregoing is true and correct.
